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                           UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF KENTUCKY
                                LOUISVILLE DIVISION

 UNITED STATES OF AMERICA,

                               Plaintiff

 v.                                                         Case No. 3:23-CR-00014-DJH

 BRYAN DOUGLAS CONLEY,

                               Defendant.

______________________________________________________________________________

                                    ORDER
______________________________________________________________________________

       This matter is before the Court on a motion for hearing transcript filed by previous

counsel for Defendant Bryan Douglas Conley. (R. 41.) The Court being sufficiently advised,

       IT IS HEREBY ORDERED as follows:

       1.      The Motion for Hearing Transcript (R. 41) is GRANTED;

       2.      The Clerk’s Office is hereby directed to provide Mr. Conley’s previous counsel,

Joshua F. Barnette, with a copy of the transcript from the ex parte hearing held of March 29,

2023; and

       3.      The transcript of the ex parte hearing held on March 29, 2023, shall otherwise

remain under seal and shall not be provided to any other person or entity without subsequent

orders from the Court.

       This the ____ day of ____________, 20___.
